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                                 La. hospitals watch Texas funding issue
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Byline: MARSHA SHULER


mshuler@theadvocate.com

Body


The federal government postponed Medicaid payments to 57 Texas hospitals over questions about a financial
scheme similar to one that Louisiana adopted.

The federal Centers for Medicare and Medicaid Services approved the concept, in general, a few years ago but
now is raising questions about how the funding mechanism works in real life. CMS backed in 2011 the new way
Texas pays private hospitals to care for patients who could not pay for their medical care and endorsed a similar
plan for Louisiana the following year.

CMS' recent decision to defer payments in Texas is worrying Louisiana hospital executives.

"There is the potential that these funds will go away, and that is the message that CMS seems to be sending right
now," said Sean Prados, a vice president at the Louisiana Hospital Association. "This is not unexpected, but it's
troubling."

Texas and Louisiana are the only two states that have structured the finances this way for this Medicaid service,
Prados said. The arrangements are worth billions of dollars in Texas and hundreds of millions in Louisiana. Other
states use a different method.

"At this point in time, we are reviewing the situation,"

state Department of Health and Hospitals Undersecretary Jeff Reynolds said.

DHH attorneys have found no federal rules changes that would undermine Louisiana's financing arrangements.
"They still feel like we are on valid ground," Reynolds said.

Medicaid is the joint government program that covers the poor and uninsured. It's mostly paid for by the federal
government, but states contribute a share. About one in four Louisiana residents are in the Medicaid program.

Under the federal microscope is an arrangement Texas uses, which is similar to Louisiana's $400 million Low
Income and Needy Care Collaboration Agreements.

Louisiana's LINCCA program has been used to get extra funding to public LSU hospitals, which now have
contracted with private operators, as well as other community facilities across the state, including East Jefferson
General Hospital in Metairie, West Jefferson Medical Center in Marrero and Woman's Hospital in Baton Rouge.
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Under the deals, a private company agrees to provide the health care services that had been provided by a public
entity. The arrangement frees the government dollars that had been spent by the public entity. The public funds are
directed to Medicaid coffers to increase the state's match, which in turn brings more federal funds. The private
company then receives supplemental payments from Medicaid.

In Texas, CMS is challenging the source of the nonfederal share of $126 million in Medicaid claims made to
hospitals in the Dallas-Fort Worth, Corpus Christi and Austin regions. It is deferring payment of the $74.8 million
federal share as well as future claims for federal funding "until the source of the nonfederal share is determined
appropriate." The deferrals involve agreements with such hospitals as Baylor University Medical Center in Dallas
and Texas Health Presbyterian Hospital Dallas.

Texas officials fear that the federal decision made after spot audits could expand to include arrangements for
hospitals across that state.

Texas Health and Human Services Executive Commissioner Dr. Kyle L. Janek, of Austin, alerted all state hospitals
of the situation, noting "the potential negative impact to Texas hospitals, if CMS disallows funds associated with this
program or prohibits the continued use of public-private funding relationships."

Bill Brooks, the associate regional administrator for CMS, wrote Sept. 30: "CMS would like to explore further our
understanding of the financing mechanism being utilized" and how it relates to recent agency guidance on the use
of certain types of public-private arrangements.

"It appears that the intergovernmental transfer (local match) may be derived from funds that the government entity
previously would have spent on providing the services that are now being provided/funded by the private entity and
or direct payments made to the governmental entity from private entities," Brooks wrote. That would constitute the
unallowable use of provider-related donations to draw down federal funds, he said.

Brooks' letter referred to a May 9 memo to all state Medicaid directors dealing with "financing and donations."

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